                       UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF WISCONSIN

 SHERRY JAMES as Special Administrator     )
 of the Estate of MALCOLM JAMES, deceased, )
                                           )
    Plaintiff,                             )
                                           )              Case No.
                v.                         )
                                           )
 RACINE COUNTY SHERIFF’S                   )
 DEPARTMENT, SHERIFF                       )
 CHRISTOPHER SCHMALING,                    )
 SGT. JUSTIN BRANDS, SGT ERLINDA           )
 RODRIGUEZ, OFFICER JONATHAN               )
 KOSKI, OFFICER ADRIAN PAYNE,              )
 OFFICER JOSUE DAVALOS-ALONSO              )
 OFFICER MICHAEL SAULYS,                   )
 OFFICER CRISTAIN BRINDIS,                 )
 OFFICER JUSTIN GAUDES                     )
 MEnD CORRECTIONAL CARE, PLLC, and )
 CRYSTAL KRISTAINSEN,                      )
                                           )
    Defendants.                            )

                             COMPLAINT AT LAW

              NOW COMES the Plaintiff, SHERRY JAMES, as Special

Administrator of the Estate of MALCOLM JAMES, deceased, by and through her

attorneys, The Memmen Law Firm, LLC. and O’Connor Law Firm, Ltd., and alleges

the following against the RACINE COUNTY SHERIFF’S DEPARTMENT,

SHERIFF CHRISTOPHER SCHMALING, SGT. JUSTIN BRANDS, SGT

ERLINDA RODRIGUEZ, OFFICER JONATHAN KOSKI, OFFICER ADRIAN

PAYNE, OFFICER JOSUE DAVALOS-ALONSO, OFFICER MICHAEL

SAULYS, OFFICER CRISTAIN BRINDIS, OFFICER JUSTIN GAUDES, MEnD

CORRECTIONAL CARE, PLLC, and CRYSTAL KRISTAINSEN for the reasons

set forth below:

                                  JURISDICTION

     1.       The jurisdiction of the court is invoked pursuant to the Civil Rights


                                                  1

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Act of 1871, 42 U.S.C. § 1983; the Judicial Code, 28 U.S.C. § 1331, § 1343, and §

1391(b); the Constitution of the United States; and this Court’s supplementary

jurisdiction powers pursuant to 28 U.S.C. § 1367.

    2.       Defendants are residents of the State of Wisconsin. The acts

complained of in this complaint occurred in Racine, Wisconsin. Accordingly,

venue is proper in the United States District Court for the Eastern District of

Wisconsin pursuant to 28 U.S.C. §1391.


                                     PARTIES

    3. Decedent, Malcolm James was at all material times a resident of the State of

Wisconsin, of full age and a pretrial detainee at Racine County Jail.

    4. Plaintiff, SHERRY JAMES is Malcolm James’ mother and has been

appointed Special Administrator of the Estate of Malcolm James, deceased, has

been issued letters of office on March 11, 2022 in the Probate Court of Racine

County and standing to bring all Counts and Causes of Action stated herein.

    5. Pursuant to Section 893.80(1), Wis. Stats., on August 10, 2021, notice was

given to DEFENDANT RACINE COUNTY SHERRIFF’S DEPARMENT and the

County has failed to respond to said notice giving the plaintiff the right to file suit

in this matter. See attached as Exhibit A.

    6.       SGT. JUSTIN BRANDS, SGT ERLINDA RODRIGUEZ, OFFICER

JONATHAN KOSKI, OFFICER ADRIAN PAYNE, OFFICER JOSUE

DAVALOS- ALONSO, OFFICER MICHAEL SAULYS, OFFICER CRISTAIN

BRINDIS, and OFFICER JUSTIN GAUDES, (hereinafter referred to collectively

as “DEFENDANT OFFICERS”) were at all times relevant residents of the State of

Wisconsin and hereto employed by and acting on behalf of the RACINE

COUNTY SHERIFF’S DEPARTMENT. DEFENDANT OFFICERS are sued

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both individually and in their official capacities.

    7.       The RACINE COUNTY SHERIFF’S DEPARTMENT is a duly

incorporated municipal corporation and is the employer and principal of the

DEFENDANT OFFICERS, as well as the other officers and/or employees referred

to in this complaint. THE RACINE COUNTY SHERIFF’S DEPARTMENT is

also responsible for the contracts for Medical Services provided to the pretrial

detainees at Racine County Jail.

    8.       RACINE COUNTY SHERIFF’S DEPARTMENT is the principal law

enforcement agency that serves RACINE COUNTY. It operates the RACINE

COUNTY JAIL and is the employer and principal of the DEFENDANT

OFFICERS, as well as the other officers and/or employees referred to in this

Complaint. RACINE COUNTY SHERIFF’S DEPARTMENT was given custody

and charge of Malcolm James and was responsible for Malcolm James protection

as well as for the hiring, training, and supervision of all personnel, including those

individuals contracted for medical services through MEnD CORRECTIONAL

CARE, LLC, necessary to operate and maintain the Racine County Jail.

    9.       SHERIFF CHRISTOPHER SCHMALING was at all times relevant

herein, the Sheriff of Racine County. As the duly elected Sheriff of Racine

County, CHRISTOPHER SCHMALING operates in his official capacity at the

Racine County Jail where he was given custody and charge of Malcolm James and

was responsible for Malcolm James protection as well as for the hiring, training,

and supervision of all personnel necessary to operate and maintain the Racine

County Jail. He is sued in his official capacity.

    10.      At all times material to this Complaint, DEFENDANT OFFICERS,

and SHERIFF CHRISTOPHER SCHMALING were acting under color of state

law, ordinance and/or regulation, statutes, custom and usages of the RACINE

                                                    3

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COUNTY SHERIFF’S DEPARTMENT and the State of Wisconsin. At all

relevant times, DEFFENDANT OFFICERS, and SHERIFF CHRISTOPHER

SCHMALING were acting under color of state law in their official capacity and in

their individual capacities.

    11.     Defendant, MEnD CORRECTIONAL CARE, PLLC (“MEnD”) is a

Minnesota Corporation that at all times relevant, was contracted by the Racine

County Sheriff to provide medical services for Racine County Jail pretrial

detainees under the color of State Law. At all times material hereto, MEnD acted

in concert with State actors, including the RACINE COUNTY SHERIFF’S

DEPARTMENT, by providing medical care to pretrial detainees at the RACINE

COUNTY JAIL. As a result, MEnD, and its employees, including but not limited

to CRYSTAL KIRSTAINSEN, acted under color of State law for purposes of 42

U.S.C. §1983.

    12.     CRYSTAL KRISTIANSEN is a resident of Wisconsin and at all times

relevant was employed by MEnD and was assigned to provide medical care and

services to pretrial detainees at the Racine County Jail. CRYSTAL

KRISTIANSEN is being sued in her individual capacity as well as official,

employee/agent capacity, and was at all times relevant to this complaint duly

appointed and acting as the actual or apparent agent/official/employee of the

Racine County Jail, acting under color of law, to wit, under color of the statues,

ordinances, regulations, polices, customs and usages of the State of Wisconsin.


                               FACTUAL SUMMARY

    13.     On or about May 28, 2021, Malcolm James called 911 in a mental

health crisis requesting help.

    14.     Officer Thomas Bodnar was dispatched to Malcom James’ home.

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    15.        Malcom James was charged with numerous counts including arson,

taken to Ascension hospital for observation, and subsequently taken to the Racine

County Jail.

    16.        Between May 28, 2021, and June 1, 2021, Malcolm James was being

ridiculed and not having his mental health needs addressed despite the staff

observing a mental health crisis.

    17.        On or about June 1, 2021, Malcom James was being removed from his

cell. At such time, the correctional emergency response team (herein after referred

to as “CERT members”), SGT JUSTIN BRANDS, OFFICER KHADEJA

DISMUKE, OFFICER MICHAEL SAULYS, OFFICER JOSUE DAVALOS-

ALONSO, OFFICER ADREAN PAYNE AND OFFICER JONATHAN KOSKI

entered Malcolm James cell, tased him, Oleoresin Capsicum (OC) sprayed him,

handcuffed him and placed him in an emergency restraint chair with his waist, and

feet shackled to the chair.

    18.        Malcolm was sprayed with Oleoresin Capsicum (hereinafter referred

to as “OC”). The staff knew or should have known that most people sprayed will

exhibit an inability to breath and should be monitored for 35 to 40 minutes

pursuant to manufacturer and custom and practice. Rule 52 provides for this

monitoring and specifically calls for any obese individuals with a medical

condition to be monitored closely after OC spraying. During that monitoring,

further restraints and/or restriction of air flow should not be put on the exposed

individual.

    19.        Malcolm was not monitored for his breathing or any other side effects

of the OC and was immediately placed in further restrictive positions that

interfered with his ability to breathe.


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    20.     Officers are required to contact medical assistance immediately when

a person exposed to OC spray loses consciousness, stops breathing, hyperventilates

or becomes incoherent. Medical personnel were not contacted to intervene when

Malcolm was exhibiting distress in his breathing after exposure to multiple

deployments of the OC spray to his person.

    21.     Unknown CERT officer/officers secured Malcom James’s hands

behind his back with handcuffs. At that time Malcolm James was being compliant

and was completely subdued by officers.

    22.     DEFENDANT OFFICERS placed Malcolm James in a restraint chair

without first removing the taser prongs, causing said prongs to become further

imbedded into his body.

    23.     DEFENDANT OFFICERS then proceeded to attempt to remove the

taser prongs by pushing Malcom James’ head and neck forward and

pulling/pushing down on his head, shoulders and back cutting off his airway.

    24.     Malcolm James begged and cried out to the DEFENDANT

OFFICERS that he could not breathe during the first attempt to remove the taser

prongs. DEFENDANT OFFICERS did not have or use the taser removal tool

which could have easily removed the taser prongs in a matter of seconds.

    25.     Nurse CRYSTAL KRISTIANSEN was called to assist in the removal

of the taser prongs but indicated she was unable to remove them and perhaps he

should be transported to the hospital for assistance in removal.

    26.     SGT. JUSTIN BRANDS commanded the DEFENDANT OFFICERS

to lean Malcolm James forward into the inverted choke hold position which

Malcolm James had previously indicated to them caused him to be unable to

breathe, in an attempt to remove the prongs first by hand which also failed.

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    27.        Even though one of the officers suggested they contact Paramedics

to remove the taser prongs when they were having difficulties and knew they could

not be removed safely, they continued their attempts to remove the taser prongs

and prolonged the inverted choke hold used on Malcolm.

    28.      One of the DEFENDANT OFFICERS explained to Malcolm James

that the taser removal process would only take 5 to 10 seconds.

    29.     At some point, the handcuffs on Malcolm James come loose as he is

gasping for breath. At no time was Malcolm James moving his hands or

attempting to remove the handcuffs.

    30.     The DEFENDANT OFFICERS rushed to secure Malcolm James’

hands into a double set of handcuffs.

    31.     DEFENDANT OFFICERS push/pulled Malcolm James even further

forward into the inverted choke hold in their attempts to secure his hands.

    32.     After DEFENDANT OFFICERS secured Malcolm James’ hands, they

continue to attempt to remove the taser prongs first by hand and finally with the

taser removal tool.

    33.     DEFENDANT OFFICERS had Malcom James leaned forward in an

inverted choke hold, which placed him in a position wherein he could not breathe

for three minutes and eight seconds (3:08).

    34.     SGT JUSTIN BRANDS, then asks DEFENDANT OFFICERS if

Malcom is okay. They release the choke hold to check on Malcolm James.

    35.     Malcolm was nonresponsive at this time.

    36.     CRYSTAL KRISTIANSEN was called in to assess Malcom James.

    37.     CRYSTAL KRISTIANSEN was unable to locate a pulse and

continued to attempt to locate his pulse and attempted smelling salts.
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    38.     CRYSTAL KRISTIANSEN improperly used the smelling salts by

covering Malcolm’s nose and mouth several times, thereby creating another

obstruction to his breathing/airway.

    39.     CRYSTAL KRISTIANSEN was incorrectly using the pulse oximeter

machine; she had no knowledge as to the whereabouts of the AED and indicated

they should call 911 after seven minutes and nine seconds (7:09) of failed attempts

with smelling salts and trying to talk Malcolm back to life.

    40.     Malcom James was laid on the ground with the AED pads which

indicate no shock is needed and CPR attempts should begin.

    41.     All personnel, including DEFEDANT OFFICERS were trained in

CPR and yet the supervisor Sergeants did not direct the DEFENDANT

OFFICERS to perform CPR or any other life saving techniques.

    42.     No personnel including DEFENDANT OFFICERS attempted CPR or

any other resuscitation efforts. The paramedics arrived and began CPR minutes

later.

    43.     Malcom James was pronounced dead on June 1, 2021. None of the

actions by him warranted the deadly force used by DEFENDANT OFFICERS.

    44.     The RACINE COUNTY SHERIFF’S DEPARTMENT, and

SHERIFF CHRISTOPHER SCHMALING knew that the officers at the jail had

not been given adequate training in the use of a restraint chair, use and removal of

tasers, submission holds on inmates, or proper CERT training and knew or should

have known of a pattern and practice through its direct and/or indirect actions

acquiesced and/or promoted such conduct of using excessive force by its officers

when they knew or reasonably should have known was continuous and escalating.

    45.     Following this occurrence and despite having reviewed the video

footage regarding this incident, SHERIFF CHRISTOPHER SCHMALING

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purposefully and with the intention to cover up or deceive, put out a statement to

the public that Malcolm James killed himself by slamming his head against the

wall when he knew the coroner had determined that Malcolm James died from

homicide with the cause of death being asphyxiation due to an encounter with

officers.

    46.      As a direct and proximate result of one or more of the previously

mentioned acts oromissions of the DEFENDANT OFFICERS, RACINE

COUNTY SHERIFF’S DEPARTMENT and SHERIFF CHRISTOPHER

SCHMALING, Malcom James was caused to suffer conscious pain and suffering

due to asphyxiation up until his death and additional damages, including wrongful

death damages for the loss suffered by his heirs and next of kin.

    47.      On or about June 1, 2021, and at all times relevant, the DEFENDANT

 OFFICERS were on duty and were duly appointed correctional officers for the

 RACINE COUNTY SHERIFF’S OFFICE. The DEFENDANT OFFICERS

 engaged in the conduct complained of, on said date, in the course and scope of

 employment and while on duty. This action is being brought in both the official

 and individual capacity of DEFENDANT OFFICERS.


                                 Count I
    Excessive Force Claim Pursuant to 42 U.S.C. § 1983 and the Fourth and
    Fourteenth Amendment against DEFENDANT OFFICERS CRYSTAL
     KRISTAINSEN, MEnD CORRECTIONAL CARE, PLLC, and
              RACINE COUNTY SHERIFF’S DEPARTMENT

    48.          The DEFENDANT OFFICERS’ and CRYSTAL KRISTAINSEN’s

actions and/or the DEFENDANT OFFICERS’ and CRYSTAL KRISTAINSEN’s

failure to intervene in the actions of the others amounted to an excessive and

deadly use of force onto the person of Malcolm James, deceased, without

justification.

    49.      That the conduct of the DEFENDANT OFFICERS and CRYSTAL
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KRISTAINSEN constituted a deprivation of Malcolm James’s, deceased,

constitutionally protected rights, to wit: his Fourth and/or Fourteenth Amendment

Rights afforded by the United States Constitution, while acting under the color of

the law of the State of Wisconsin.

    50.       The aforementioned actions of the DEFENDANT OFFICERS and

CRYSTAL KRISTAINSEN were the direct, and proximate cause in fact of the

constitutional violations set forth herein.

    51.      That the aforementioned actions of the DEFENDANT OFFICERS and

CRYSTAL KRISTAINSEN, were malicious, willful and/or wanton, and

constituted a reckless and/or callous indifference to Malcom James’

Constitutionally protected rights.

    52.      That the above stated actions violated Malcom James’ established

statutorily or constitutionally protected rights which a reasonable person would

have known.

    53.      As a direct and proximate result of the DEFENDANT OFFICERS’

and CRYSTAL KRISTAINSEN’s actions, Malcom James suffered substantial

pain, suffering and loss of his life.

    54.      At all times relevant, DEFENDANT OFFICERS and CRYSTAL

KRISTAINSEN, MEnD CORRECTIONAL CARE, PLLC, as the agents of the

RACINE COUNTY SHERIFF’S DEPARTMENT, were acting under color of law.

          WHEREFORE, Plaintiff demands compensatory damages from

DEFENDANT OFFICERS CRYSTAL KRISTAINSEN, MEnD

CORRECTIONAL CARE, PLLC, and RACINE COUNTY SHERIFF’S

DEPARTMENT. Plaintiff demands judgment jointly and severally and further

demands punitive damages, costs and attorney’s fees against the DEFENDANT

OFFICERS, CRYSTAL KRISTAINSEN, MEnD CORRECTIONAL CARE,
                                                10

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PLLC, and RACINE COUNTY SHERIFF’S DEPARTMENT and any additional

relief this Court deems equitable and just.

                              Count II
                            Wrongful Death
      PURSUANT TO 42. U.S.C. §1983 against DEFENDANT OFFICERS,
      CRYSTAL KRISTAINSEN, MEnD CORRECTIONAL CARE,
       PLLC, AND RACINE COUNTY SHERIFF’S DEPARTMENT

    55.     That due to the RACINE COUNTY SHERIFF’S DEPARTMENT,

CRYSTAL KRISTAINSEN, MEnD CORRECTIONAL CARE, PLLC and

DEFENDANT OFFICERS’s conduct, Malcom James, deceased, sustained severe

bodily injuries which ultimately caused his death.

    56.     That at all times relevant to this Complaint, Malcom James, deceased,

exercised due care for his own safety.

    57.     At all times relevant to this Complaint, DEFENDANT OFFICERS,

CRYSTAL KRISTAINSEN, MEnD CORRECTIONAL CARE, PLLC, and the

RACINE COUNTY SHERIFF’S DEPARTMENT, acting by and through its

authorized agents and/or employees, owed Malcom James, deceased the duty to

refrain from intentional and/or willful and wanton acts or omissions which could

cause suffering or death to Malcom James.

    58.     DEFENDANT OFFICERS and RACINE COUNTY SHERIFF’S

DEPARTMENT breached this duty by willfully and wantonly restraining Malcom

James in a manner in which he was unable to breathe for an extended period of

time, although they were previously aware that he could not breathe in this

position, causing him great pain, suffering and ultimately his death.

    59.     As a direct and proximate result of one or more of the foregoing

intentional and/or willful andwanton acts and/or omissions of the DEFENDANT

OFFICERS and CRYSTAL KRISTAINSEN (individual defendants) , Malcom

James died on June 1, 2021.
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    60.     The RACINE COUNTY SHERIFF’S is sued individually and

pursuant to the doctrine of respondeat superior because the individual defendants

performed the acts complained of while on duty and in the employ or as the agent

and/or servant of the RACINE COUNTY SHERIFF and while acting in the scope

of their employment or agency .

    61.     Malcom James left surviving him his mother, Plaintiff SHERRY

JAMES; Father, Thoston Morehead; and his brothers Eric Morehead and Thomas

James and his sisters, Khadijah James and Ashley Morehead (family members).

    62.     By reason of Malcom James’s death, his family members have

suffered pecuniary damages and have been deprived of the support,comfort,

protection, and society of Malcom James and have suffered grief and sorrow.

    63.     That due to the DEFENDANT OFFICERS, CRYSTAL

KRISTAINSEN, MEnD CORRECTIONAL CARE, PLLC, and RACINE

COUNTY SHERIFF’S DEPARTMENT’s actions, the Plaintiff was caused to

suffer damages, including wrongful death damages for the loss suffered by his

heirs and next of kin.

    64.     That DEFENDANT OFFICERS’ and CRYSTAL KRISTAINSEN’s

actions against Malcom James exhibited excessive force as well as a reckless or

callous indifference to Malcom James’s federally protected rights. As such,

punitive damages are warranted.

            WHEREFORE, PLAINTIFF demands compensatory damages from

the DEFENDANT OFFICERS, , CRYSTAL KRISTAINSEN, MEnD

CORRECTIONAL CARE, PLLC, and RACINE COUNTY SHERIFF’S

DEPARTMENT. Plaintiff demands judgment jointly and severally and further

demands punitive damages, costs and attorney’s fees against the DEFENDANT

OFFICERS, , CRYSTAL KRISTAINSEN, MEnD CORRECTIONAL
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CARE, PLLC, and RACINE COUNTY SHERIFF’S DEPARTMENT and any

additional relief this Court deems equitable and just.

                              Count III
                          Failure to Protect
               DEFENDANT OFFICERS, RACINE COUNTY
             and RACINE COUNTY SHERIFF’S DEPARMENT

     65. Each individual DEFENDANT OFFICERS used excessive force against

Malcom James’ person.

    66.     Each DEFENDANT OFFICERS had the ability and opportunity to

stop the other from using excessive force against Plaintiff but failed to do so.

    67.     By reason of these acts and/or omissions by each DEFENDANT

OFFICERS, Malcolm James was deprived of his rights, privileges and immunities

secured to him by the Fourth and Fourteenth Amendment to the Constitution of the

United States and laws enacted there under.

    68.     The physical violence inflicted upon Plaintiff by each of

DEFENDANT OFFICERS was unnecessary, unreasonable, and excessive and was

therefore a violation of Plaintiff’s Fourth and Fourteen Amendment Rights.

Therefore, DEFENDANT OFFICERS’ are liable to Plaintiff pursuant to 42 U.S.C

§1983.

     69. The RACINE COUNTY SHERIFF’S DEPARTMENT is sued

individually and pursuant to the doctrine of respondeat superior because the

individual defendants performed the acts complained of while on duty and in the

employ of the RACINE COUNTY SHERIFF’S DEPARMENT and while acting in

the scope of their employment and/or agency.

    WHEREFORE, PLAINTIFF demands Compensatory damages from

DEFENDANT OFFICERS and the RACINE COUNTY SHERIFF’S

DEPARTMENT. Plaintiff demands judgment against all DEFENDANT

OFFICERS and the RACINE COUNTY SHERIFF’S DEPARTMENT jointly and
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      severally and further demands punitive damages, costs and attorney’s fees against

      the DEFENDANT OFFICERS and the RACINE COUNTY SHERIFF’S

      DEPARTMENT and any additional relief this Court deems equitable and just.


                                    COUNT IV
                             Indemnification claims against
                       RACINE COUNTY SHERIFF’S DEPARTMENT

          70.      In the event that any individual defendant is found liable for their

      actions performed in the course of their employment and/or agency, the RACINE

      COUNTY SHERIFF’S DEPARTMENT, they must indemnify such employee for

      this verdict pursuant to Wisconsin Statute §180.0851.

                WHEREFORE, Plaintiff demands that the RACINE COUNTY

      SHERIFF’S DEPARTMENT, pay any compensatory judgment against individual

      defendants who acted in the course of their employment and/or agency.

                                       COUNT V
             Monell claim against Defendants RACINE COUNTY SHERIFF’S
             DEPARTMENT and SHERIFF CHRISTOPHER SCHMALING

71.   This count is brought pursuant to the 42. U.S.C. §1983 and the Constitution of the

      United States.

      “When execution of a government’s policy or custom, whether made by its

      lawmakers or by those whose edicts or acts may fairly be said to represent official

      policy, inflicts the injury the government as an entity is responsible under

      § 1983.” Id. at 694; see Love-Lane v. Martin, 355 F.3d 766, 782 (4th Cir.

      2004).

72.   Defendants RACINE COUNTY SHERIFF’S DEPARTMENT and SHERIFF

      CHRISTOPHER SCHMALING had knowledge of a pattern and practice among

      the RACINE COUNTY JAIL and DEFENDANT OFFICERS for the officers to

      use a dangerous method of pushing an inmate forward, cutting off the air flow to

      control inmate and routinely using excessive force with people held in custody or
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      as pretrial detainees.

73.   Defendants RACINE COUNTY SHERIFF’S DEPARTMENT, and SHERIFF

      CHRISTOPHER SCHMALING, perpetuated, tolerated, and fostered the

      DEFENDANT OFFICERS use of excessive force during the detention of accused

      individuals by refusing and failing to take corrective actions and continuing to

      allow the RACINE COUNTY SHERIFF’S DEPARTMENT to use excessive force

      and unsafe techniques during the detention of accused individuals.

74.   SGT ERLINDA RODRIGUEZ was the supervisor on duty on the date of incident.

      She has routinely, over the years, as it relates to African American detainees said,

      “Jimmy Cracked Corn and I don’t care”; which is a reference to slavery and shows

      an attitude of discrimination and utter disregard for the care and safety of African

      American detainees.

75.   Defendants RACINE COUNTY SHERIFF’S DEPARTMENT and SHERIFF

      CHRISTOPHER SCHAMLING’s acceptance of the pattern and practice among

      the RACINE SHERIFF’S DEPARTMENT’S OFFICERS to use excessive force

      and unsafe techniques during the detention of accused individuals created a

      practice, although notwritten or express municipal policy, so widespread,

      permanent, and settled that it constituted a custom or usage within the RACINE

      COUNTY SHERIFF’S DEPARTMENT’s correctional officers.

76.   The policy, practice, custom and/or procedure of Defendants RACINE COUNTY

      SHERIFF’S DEPARTMENT and SHERIFF CHRISTOPHER SCHMALING

      caused the violation of the Plaintiff’s Civil rights.

          WHEREFORE, Plaintiff demands Compensatory damages from the RACINE

      COUNTY SHERIFF’S DEPARTMENT and SHERIFF CHRISTOPHER

      SCHMALING. Plaintiff demands judgment against both defendants and further

      demands punitive damages, costs, and attorney’s fees against the RACINE
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         COUNTY SHERIFF’S DEPARTMENT and SHERIFF CHRISTOPHER

         SCHMALING and any additional relief this Court deems equitable and just.

                                        COUNT VI
      42. U.S.C. §1983 – negligent training and supervisor for Defendants RACINE
                         COUNTY SHERIFF’S DEPARTMENT,
                     and SHERIFF CHRISTOPHER SCHMALING


77.      Defendants RACINE COUNTY SHERIFF’S DEPARTMENT and

         SHERIFF CHRISTOPHER SCHMALING, as supervisory employees,

         acted with callous or reckless indifference to the rights of pretrial

         detainees, failed to properly supervise, instruct, and train correctional

         and medical staff in the recognition of inmates with serious health

         needs, proper techniques and timing of inmate restraints, the proper

         removal of taser prongs, and location of life saving devices.

78.      Defendants were acting under the color of law, acted with deliberate

         indifference to Malcolm James life, medical needs, and rights in

         violation of the Eighth and Fourteenth Amendments to the United

         States Constitution.

79.      Defendants subjected Malcolm James to these deprivations of his rights

         either maliciously or by acting with reckless disregard for whether his

         rights would be violated .

80.      Malcolm James, died as direct and proximate result of these Defendants

         actions.

        WHEREFORE, Plaintiff demands Compensatory damages from the RACINE

COUNTY SHERIFF’S DEPARTMENT and SHERIFF CHRISTOPHER

SCHMALING. Plaintiff demands judgment against both defendants and further


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demands punitive damages, costs, and attorney’s fees against the RACINE

COUNTY SHERIFF’S DEPARTMENT and any additional relief this Court deems

equitable and just.

                                  COUNT VII
                        Medical indifference/negligence claim
                        MEnD and CRYSTAL KRISTIANSEN

81.    At all times material herein, RACINE COUNTY SHERIFF’S

       DEPARTMENT contracted with MEnD to provide medical and mental

       health services to the pretrial detainees in its custody.

82.    MEnD was and is solely owned by Dr. Leonard, a family practice

       physician, who is the President and Chief Medical Officer of MEnD

83.    MEnD has advertised as providing “low cost” care to jails.

84.    Rather than provide constitutionally protected oversight and care, MEnD

       attempts to premise its medical treatment on self-created, standardized

       forms and risk assessments that have no basis in diagnostic or interventional

       medicine.

85.    The sum of MEnD’s business model is to save counties money through the

        appearance of medical care by using made-up forms, while providing

       constitutionally deficient medical care with constitutionally deficient

       oversight by qualified providers.

86.    MEnD was deliberately indifferent to the serious medical needs of

       Malcolm James, at the RACINE COUNTY JAIL, which resulted in his

       death.

87.    MEnD’s deliberate indifference to the serious medical needs of its inmates

                                                     17

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      is further detailed in other federal civil rights litigation and publicly

      available news stories. See e.g., Perry v. Beltrami County, 19-cv-2580 (D.

      Minn.); see also Rudolph v. MEnD Correctional Care, PLLC, 18-cv-1020

      (D. Minn.); and Valiant v. Leonard, MD et al, 21-cv-72 (D. Minn.).

88.   Defendant CRYSTAL KIRSTIANSEN was not familiar with how to use a pulse

      oximeter or where the AED’s were kept when Malcom James was nonresponsive.

      These are basic tools of medicine and necessary and medical personnel must be

      proficient in the use and location of these tools.

89.   Defendant CRYSTAL KRISTIANSEN did not immediately provide

      emergency medical assistance to Malcolm James when he became

      nonresponsive. When the AED machine advised CPR to begin,

      CRYSTAL KRISTAINSEN did not begin CPR or any other

      resuscitation efforts.

90.   Approximately one minute and 20 seconds later, paramedics arrived and

      resuscitation efforts were started.

91.   Malcolm James was unable to be resuscitated and was subsequently

      pronounced dead.

92.   Defendant, CRYSTAL KRISTIANSEN, had a duty to provide for the

      safety and general wellbeing of Malcolm James.

93.   Defendant, CRYSTAL KRISTIANSEN acted under the color of law,

      acted with deliberate indifference to Malcolm James life-threatening

      medical needs.

94.   Defendant, CRYSTAL KRISTIANSEN subjected Malcolm James to the

                                                     18

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       deprivation of his rights by acting with reckless disregard.

95.   CRYSTAL KRISTENSEN’s acts and omission were a proximate cause

      of Malcolm James‘s death or failure to revive him.

      WHEREFORE, Plaintiff demands Compensatory damages from MEnD and

      CRYSTAL KRISTIANSEN. Plaintiff demands judgment against both

      defendants and further demands punitive damages, costs, and attorney’s fees

      against the MEnD and any additional relief this Court deems equitable and

      just.




                                   JURY DEMAND

       PLAINTIFF demands trial by jury.



                                                Respectfully Submitted,


                                                /s/ Alexander McH. Memmen
                                                One of the Attorneys for Plaintiff

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